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                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF OHIO
                              WESTERN DIVISION

        UNITED STATES OF AMERICA              :     CASE NO. 3:19-cr-169

                    Plaintiff                 :

        vs.                                   :     Judge Thomas M. Rose

        ETHAN KOLLIE                          :

                    Defendant                 :

        ______________________________________________________________

         MOTION FOR MODIFICATION OF BOND CONDITIONS ORDER
        ___________________________________________________________________

              Now comes Defendant Ethan Kollie, by and through undersigned

        counsel pursuant to 18 U.S.C. §3145(b), and hereby moves this Honorable

        Court to for an ORDER amending the ORDER OF DETENTION issued by

        Magistrate Judge Michael J. Newman on August 15, 2019 (Doc.#14).

                                       Respectfully submitted,

                                       s/Nicholas G. Gounaris
                                       NICHOLAS G. GOUNARIS (0064527)
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                                       Co-Counsel for Defendant, Ethan Kollie
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                                          /s/Antony A. Abboud
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                                    MEMORANDUM

               Mr. Kollie is a United States citizen who is now charged by way of an

        INFORMATION containing two (2) violations: 18 U.S.C. §922(g)(3) and 18

        U.S.C. §924(a)(1)(A).

               On August 9, 2019, Mr. Kollie made his initial appearance before

        Magistrate Judge Newman. On August 14 and 15, 2019, Magistrate Judge

        Newman held a detention hearing and determined that there were no

        conditions of release that would (1) reasonably assure the appearance of Mr.

        Kollie and (2) protect the safety of the community.

               Mr. Kollie is expected to enter a plea of guilty pursuant to a plea

        agreement on November 20, 2019. Considering that he will resolve his case

        by way of a plea agreement, Mr. Kollie respectfully requests that this

        Honorable Court modify the August 15, 2019 ORDER OF DETENTION

        and allow him to be released pending sentencing with reasonable conditions.

        This request has been communicated to the Government, and it DOES object

        to the request.
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                                           Respectfully submitted,

                                          s/Nicholas G. Gounaris
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                                           /s/Antony A. Abboud
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                                        CERTIFICATE OF SERVICE

                     I hereby certify that a copy of the foregoing was sent to all parties via
                 the clerk of court’s electronic filing system.
